                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                      CIVIL ACTION NO. 3:17-CV-397-RJC-DCK


 LISA KERI STRICKLIN,

                    Plaintiff,
                       v.
                                                         STIPULATION OF DISMISSAL
 GWEN STEFANI AND LIVE NATION
 ENTERTAINMENT, INC.,

                  Defendants.


       COME NOW Plaintiff Lisa Keri Stricklin (“Plaintiff”) and Defendant Gwen Stefani

(“Defendant”), through their respective counsel, and stipulate to the dismissal of all of Plaintiff’s

claims in this action with prejudice, with each party to bear their own attorneys’ fees and costs.

       Respectfully submitted, this the 12th day of March, 2019.



BRADLEY ARANT BOULT                                   ECONOMOS LAW FIRM, PLLC
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                                                      /s/ Larry Economos
/s/ Robert R. Marcus                                  Larry Economos
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this date, I electronically filed the foregoing STIPULATION OF

DISMISSAL using the CM/ECF system which will send notification of this filing to all counsel

of record.

       This the 12th day of March, 2019.


                                           /s/ Robert R. Marcus___
                                           Robert R. Marcus

                                           Attorneys for Defendant Gwen Stefani




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